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FOR THE DISTRICT OF MARYLAND

TINA BOND *
*
*
v. * Civil No. -JFM-15-2513
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EDENWALD GENERAL GERMAN *
HOME OF THE AGED *
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MEMORANDUM

Defendant has filed a partial motion to dismiss. The motion (document 6) will be
granted. Plaintiff apparently does not challenge defendant’s contention that counts 5 and 6 did
not state claims upon which relief could be granted. l agree that the defendant"s motion appears
meritorious Accordingly, counts 5 and 6 are dismissed

Plaintiff was required to tile her discrimination charge on or before June 29, 2015. She
did not do so. She did attempt to file a state court action alleging employment discrimination on
June 15, 2015, but she did not pay the filing fee.

A Separate Order is being entered herewith.

Date: ,/y ,//K /O€I\

{Fi"ederick Motz
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